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                                                                  BANKRUPTCY PETITION COVER SHEET
                                                                          (Continuation Sheet)

Part 2 Supplement

For each companion case, state in chronological order of cases:
                            Additional Case                                            Additional Case              Additional Case
 Name on petition           Noble Manufacturing Group,                                 Noble Metal Processing -     Noble Metal Processing, Inc.
                            Inc.                                                       Kentucky G.P.
 Relationship to this case  Affiliate                                                  Affiliate                    Affiliate
 Case Number
 Chapter                    11                                                         11                           11
 Date filed
 District                   E.D. of Michigan                                           E.D. of Michigan             E.D. of Michigan
 Division
 Judge
 Status/Disposition

(Pending, confirmed & still open, confirmed & closed, dismissed before/after confirmation, discharged, etc.)

If the present case is a Chapter 13 case, state for each companion case:
 Attorney
 Legal fee              $                                         $                                                   $
 Proposed legal fee in this case     $
Changes in circumstances which lead the debtor to reasonably believe that the current plan will be successful.



Part 2 Supplement

For each companion case, state in chronological order of cases:
                            Additional Case                                            Additional Case              Additional Case
 Name on petition           Noble Metal Processing-                                    Noble Metal Processing-New   Noble Metal Processing-Ohio,
                            Indiana, Inc.                                              York, Inc.                   LLC
 Relationship to this case  Affiliate                                                  Affiliate                    Affiliate
 Case Number
 Chapter                    11                                                         11                           11
 Date filed
 District                   E.D. of Michigan                                           E.D. of Michigan             E.D. of Michigan
 Division
 Judge
 Status/Disposition

(Pending, confirmed & still open, confirmed & closed, dismissed before/after confirmation, discharged, etc.)

If the present case is a Chapter 13 case, state for each companion case:
 Attorney
 Legal fee              $                                         $                                                   $
 Proposed legal fee in this case     $
Changes in circumstances which lead the debtor to reasonably believe that the current plan will be successful.




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                                                                  BANKRUPTCY PETITION COVER SHEET
                                                                          (Continuation Sheet)

Part 2 Supplement

For each companion case, state in chronological order of cases:
                            Additional Case                                            Additional Case                 Additional Case
 Name on petition           Noble Metal Processing-West                                Noble Swiss Holdings, LLC       Noble TSA, LLC
                            Michigan
 Relationship to this case  Affiliate                                                  Affiliate                       Affiliate
 Case Number
 Chapter                    11                                                         11                              11
 Date filed
 District                   E.D. of Michigan                                           E.D. of Michigan                E.D. of Michigan
 Division
 Judge
 Status/Disposition

(Pending, confirmed & still open, confirmed & closed, dismissed before/after confirmation, discharged, etc.)

If the present case is a Chapter 13 case, state for each companion case:
 Attorney
 Legal fee              $                                         $                                                      $
 Proposed legal fee in this case     $
Changes in circumstances which lead the debtor to reasonably believe that the current plan will be successful.



Part 2 Supplement

For each companion case, state in chronological order of cases:
                            Additional Case                                            Additional Case                 Additional Case
 Name on petition           Noble Tube Technologies, LLC                               Prototech Laser Welding, Inc.   Tailor Steel America, LLC
 Relationship to this case  Affiliate                                                  Affiliate                       Affiliate
 Case Number
 Chapter                    11                                                         11                              11
 Date filed
 District                   E.D. of Michigan                                           E.D. of Michigan                E.D. of Michigan
 Division
 Judge
 Status/Disposition

(Pending, confirmed & still open, confirmed & closed, dismissed before/after confirmation, discharged, etc.)

If the present case is a Chapter 13 case, state for each companion case:
 Attorney
 Legal fee              $                                         $                                                      $
 Proposed legal fee in this case     $
Changes in circumstances which lead the debtor to reasonably believe that the current plan will be successful.




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                           PENDING BANKRUPTCY CASES FILED BY ANY
                         SPOUSE, PARTNER OR AFFILIATE OF THIS DEBTOR


                      Including the debtor in this chapter 11 case, the following affiliated debtors
       simultaneously have filed voluntary chapter 11 petitions in this Court. Contemporaneously with the
       filing of these petitions, such entities filed a motion requesting that their chapter 11 cases be
       consolidated for procedural purposes only and jointly administered.


                     Noble International, Ltd.
                     Noble Manufacturing Group, Inc.
                     Noble Metal Processing-Ohio, LLC
                     Noble Metal Processing, Inc.
                     Noble Advanced Technologies, Inc.
                     Noble Metal Processing-New York, Inc.
                     Noble Metal Processing – Kentucky, G.P.
                     Prototech Laser Welding, Inc. (d/b/a LWI Laser Welding International)
                     Noble Tube Technologies, LLC
                     Noble Metal Processing-West Michigan, Inc.
                     Noble Metal Processing-Indiana, Inc.
                     Noble Land Holdings, Inc.
                     Noble Swiss Holdings, LLC
                     Noble TSA, LLC
                     Tailor Steel America, LLC




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